                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 In re: PRIMARY PROVIDERS OF                      )
        ALABAMA, INC.,                            )           Case No.: 18-83207-CRJ11
                                                  )
        EIN: xx-xxx9960                           )
                                                  )
                Debtor.                           )           CHAPTER 11

                       MOTION TO AUTHORIZE CONTINUED USE OF
                     EXISTING BANK ACCOUNT AND BUSINESS FORMS

       COMES NOW Primary Providers of Alabama, Inc, as Chapter 11 Debtor (“Debtor”), and
 shows unto this Honorable Court the following:

                                             Background

        1.      On October 26, 2018, (the "Commencement Date"), the Debtor commenced with this
 Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy Code").

         2.     This Court has subject matter jurisdiction to consider and determine this motion
 pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The Debtor is a limited liability company organized and operating under the laws of
 the State of Alabama.

        4.      The Debtor holds a business checking account at PNC Bank. PNC is not a creditor of
 the Debtor’s estate.

         5.      The Court’s standard Operating Order establishes certain operating guidelines for all
 Debtors in order to supervise the administration of new Chapter 11 cases. Under these guidelines, a
 Chapter 11 debtor is generally required to open new "debtor in possession" bank accounts and to
 close all preexisting bank accounts and to clearly designate their checks as the checks of a "debtor in
 possession." These requirements are designed to establish a clear demarcation between prepetition
 and postpetition transactions and prevent the unauthorized payment of prepetition claims.

                                        Use of Bank Accounts

        6.      The continued use of the existing Bank Account, instead of closing such account and
 opening new post-petition bank accounts, is necessary in order to avoid disruption and to preserve a
 "business as usual" atmosphere. The confusion that would result absent the relief requested herein
 could impair the Debtor’s ability to consummate an efficient reorganization. Furthermore, allowing
 these accounts to be maintained with the same account numbers will assist the Debtor in




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 accomplishing a smooth and orderly transition to Chapter 11. Finally, the structure of the Bank
 Accounts allows the Debtor to efficiently monitor and control all of his cash receipts and
 disbursements. Accordingly, by this Motion, the Debtor seeks authorization to maintain the Bank
 Accounts at PNC Bank.

        7.      The Debtor submits that it has the capacity to draw the necessary distinctions between
 pre- and post-petition obligations and payments without closing the Bank Account and opening a
 new account. Thus, the Debtor submits that the granting of the relief requested herein will not
 prejudice any parties in interest herein.

                                   Use of Existing Business Forms

         8.      Similarly, in order to minimize expense to the Debtor and the estate, the Debtor
 requests a waiver of the requirement that it replace prepetition checks and business forms with new
 forms containing the legend "Debtor in Possession." In the ordinary course of his business, the
 Debtor uses business forms, including, without limitation, checks, letterhead, envelopes and other
 forms. By virtue of the nature and scope of the Debtor’s farm and the large number of third parties
 with whom the Debtor deals on a regular basis, it is important that the Debtor be permitted to
 continue to use the existing checks and other business forms without alteration or change. To do
 otherwise would be costly and place an undue burden on the Debtor’s estate. Moreover, to avoid
 disruption of the cash management system, the Debtor requests that it only be required to include the
 legend "Debtor in Possession" on the bank’s signature card.

        9.      Consistent with relief granted in numerous other cases, the Debtor respectfully
 requests that the Court authorize the Debtor’s continued use of existing checks and other business
 forms. See, e.g., In re Versatel Telecom Int'1 N.V., Case No. 02-13003 (RDD) (Bankr. S.D.N.Y.
 2002); In re Young, 205 B.R. 894, 897 (Bankr. W.D. Tenn. 1997); In re Gold Standard Baking, Inc.,
 179 B.R. 98, 105-06 (Bankr. N.D. Ill. 1995); In re Johnson, 106 B.R. 623, 624 (Bankr. D. Neb.
 1989).

                                                Notice

       10.    Pursuant to Bankruptcy Rule 2002, the Debtor proposes to serve a copy of this
 Motion upon Richard M. Blythe, Office of the Bankruptcy Administrator.


                                         Prayers For Relief

        WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Bankruptcy Court enter
 an order approving the Debtor’s continued use of the existing bank account and business forms and
 granting such other and further relief as the Court may deem just and proper.




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        Respectfully submitted, this 26th day of October, 2018.


                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard
                                            Kevin M. Morris
                                            Tazewell T. Shepard IV
                                            Attorneys for Debtor

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                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document upon Richard M. Blythe,
 Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF system
 and/or by placing a copy of same in the United States Mail, postage pre-paid.

        Done this 26th day of October, 2018.


                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard




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